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            EXHIBIT 3
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                                           UNITED STATES DISTRICT COURT
                                               DISTRICT OF COLUMBIA

             _______________________________________
                                                                    )
             Amaplat Mauritius Ltd., et al,                         )
                                                                    )
                      Plaintiffs,                                   )
                                                                    )
             v.                                                     )   Civil Case No. 1:22-cv-00058-CRC
                                                                    )
             Zimbabwe Mining Development                            )
             Corporation, et al,                                    )
                                                                    )
                   Defendants.                                      )
             _____________________________________

                                    EXPERT OPINION OF LIKANDO KALALUKA, SC

                      1.       My name is Likando Kalaluka, SC. I am the Managing Partner of Likando

             Kalaluka & Co., which is located in Lusaka, Zambia.

                      2.       I am qualified as an expert to render an opinion in this case as to Defendants’

             immunity from jurisdiction before Zambian courts and service on Defendants of a Zambian court

             order. I have been an attorney practicing in Zambia since 2004. After working in private practice,

             I was unanimously ratified as the Attorney General of the Republic of Zambia and served in this

             role from 2015 to 2021. As the Attorney General of Zambia, I was the leader of the Zambian Bar

             and received the title State Counsel, abbreviated “SC,” which is equivalent to Queen’s Counsel

             in the United Kingdom.

                      3.       During my public service, I was the chief legal advisor to the Government and ex

             officio member of Cabinet. I was responsible for the approval of all contracts and agreements the

             Government (and all quasi-government bodies) intended to enter into. I oversaw and supervised

             the following departments: Legislative Drafting and Law Revision, Civil Litigation and Debt

             Collection, and International Law and Agreements.

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                      4.       I have represented the Republic of Zambia in civil, commercial, and constitutional

             proceedings in the superior courts in Zambia and in domestic and international arbitrations. In

             addition to my court practice, I have first-hand experience in high-value, complex arbitrations

             under the rules of major, international arbitration institutions in cases relating to energy, mining,

             infrastructure development, health, human rights, public procurement and intellectual property.

                      5.       After public service, I returned to the private sector with Likando Kalaluka & Co.,

             where we represent clients in a variety of sectors and legal matters. I am also a Member of

             Arbitra International, a leading provider of alternative dispute resolution services. Clients seek

             out Arbitra International to find qualified neutrals, who include distinguished names from around

             the world. Through my firm and Arbitra International, I continue to practice in international

             dispute resolution.

                      6.       I have a Bachelor of Laws degree from the University of Zambia and an LL.M. in

             International and Comparative Disability Law & Practice from the National University of Ireland

             Galway School of Law.

                      7.       I am admitted to practice before the courts of the Republic of Zambia. For a full

             list of my professional experience, my resume is attached to this Opinion as Exhibit A.

                      8.       In this arbitration, I was retained by GST LLP on behalf of the Republic of

             Zimbabwe (“Zimbabwe”) and the Chief Mining Commissioner, Ministry of Mines of Zimbabwe

             (the “Commissioner”), to render an opinion on the immunity from jurisdiction of Defendants in

             Zambian courts.

                      9.       I am completely independent and do not personally know any of the parties

             involved in this arbitration. Defendants’ counsel contacted me directly to retain me as an expert.




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                      10.      I have charged a flat rate of $5,000 for this Expert Opinion. My hourly rate is

             otherwise $400.00.

                      11.      In rendering my opinion, I reviewed the following documents:

                               a.     Certain documents filed before the High Court for Zambia (Ex. B).

                               b.     The cases and statutes I cite herein.

                               c.     The Complaint filed in this matter (the “Complaint”).

                               d.     The arbitration award and the MOUs referenced herein.

                      12.      In the last 10 years, I have authored the articles that appear in my CV. In the last

             four years, I have not testified as an expert at trial or deposition.

                                                        CONCLUSIONS

                      13.      Based on the absence of any case made by Plaintiffs before the Zambian courts, I

             cannot conclude that there was a finding that Defendants were not immune from jurisdiction in

             Zambia. Were Plaintiffs to have made a case for a waiver of sovereign immunity, it is my

             opinion that the Commissioner would be immune because there is no evidence that he engaged

             in any private act as it related to the MOUs.

                      14.      In the Complaint, Plaintiffs have not made a case that Defendants waived their

             immunity in Zambia, so I can take no position at this time on Plaintiffs’ arguments. I reserve the

             right to do so.

                      15.      Upon being retained herein, I caused to be conducted a search of proceedings at

             the High Court for Zambia Commercial Registry, under cause number 2019/HPC/ARB/0337.

             Based on that search, I found no evidence that Plaintiffs sought leave to serve ZMDC or the

             Commissioner outside of Zambia, which is a mandatory requirement to effect service before a

             Zambian court, and I found no evidence of any service on ZMDC or the Commissioner.



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                                                        RELEVANT FACTS

                      16.      In an arbitration award dated January 12, 2015 (the “Award”), an arbitration

             tribunal found the Zimbabwe Mining Development Corporation (the “ZMDC”) and the

             Commissioner liable for breaches of two Memorandum of Understanding (the “MOUs”). The

             Commissioner did not sign either MOU. Zimbabwe did not sign either MOU, and it was never

             named as a party in the arbitration.

                      17.      Over four years later, on July 19, 2019, Plaintiffs presented an ex parte

             application for an order recognizing the Award as a judgment of Zambia. The application

             included the affidavit of Ian Small-Smith.

                      18.      On August 9, 2019, the Zambian court granted Plaintiffs leave to enforce the

             Award as a judgment of the court. It also granted ZMDC and the Commissioner 30 days to apply

             to set aside the order, and the court ordered Plaintiffs to serve ZMDC and the Commissioner.

                      19.      Plaintiffs never disclosed to the Zambian courts that ZMDC and the

             Commissioner have presumptive immunity from jurisdiction.

                      20.      In my review of the documents provided to me, I have not seen any evidence that

             Plaintiffs served the order on ZMDC or the Commissioner. I have checked the records in the

             Zambian court, specifically Case Number 2019/HPC/ARB/No. 0337, and I have not found any

             evidence that service was performed.

                                                            ANALYSIS

                                           Foreign Sovereign Immunity in Zambia

                      21.      There are few cases regarding foreign sovereign immunity in Zambia, and there is

             no statute, such as the State Immunity Act in the United Kingdom or the Foreign Sovereign

             Immunities Act in the United States, that defines the immunity of a foreign state and its



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             instrumentalities. Rather, there is the Diplomatic Privileges and Immunities Act (the “DPIA”),

             which largely incorporates the Vienna Convention on Diplomatic Relations (18 April 1961). The

             DPIA applies to embassies, consulates, organizations created by treaty and designated by the

             President of Zambia as entitled to the immunities of embassies and consulates, and

             representatives, officers, and employees of the foregoing.

                      22.      In my review of the facts, I have not seen any indication that the DPIA applies to

             ZMDC or the Commissioner. Because the Zambian court did not issue any order as to the

             Republic of Zimbabwe, I cannot take any position as to the DPIA’s application as to the

             Republic of Zimbabwe, except to confirm that the DPIA would generally apply to many

             functions of the Republic of Zimbabwe as carried out within the territory of the Republic of

             Zambia.

                      23.      In cases where the DPIA does not apply, Zambian courts look to principles of

             international law, as expressed by courts in other common law jurisdictions. I have been able to

             locate only one precedential decision on this point: Ventriglia v. Eastern & Southern African

             Trade Develop. Bank, S.C.Z. Judgment No. 13 of 2010. In Ventriglia, the Supreme Court of

             Zambia found persuasive the decision of Lord Denning in Trendtex Trading v. Central Bank of

             Nigeria, rendered by the U.K. House of Lords in 1977, and I Congreso del Partido, rendered by

             the U.K. House of Lords in 1983. Both cases dealt with matters arising before the State

             Immunity Act of 1978.

                      24.      Ventriglia adopted the restrictive view of foreign sovereign immunity, stated as

             follows:

                               “Whether an act of a sovereign State attracted sovereign immunity depend on

                               whether the act in question was a private act (jure gestionis), or a sovereign or



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                               public act (jure imperii) and the fact that the act was done for governmental or

                               political reasons would not convert what would otherwise be an act of jure

                               gestiouis, or an act of private law into one done jure imperii.”

                      25.      The task is thus to look at the act of the foreign sovereign or its instrumentalities

             and then arrive at a conclusion based on its inherent nature.

                            There Was No Waiver of Sovereign Immunity by the Commissioner

                      26.      As I noted above, Plaintiffs did not make any case of a waiver of sovereign

             immunity before the Zambian courts, and there is no order finding that either ZMDC or the

             Commissioner is no longer immune. But in any event, it is my opinion that the Zambian court

             would not have found a waiver by the Commissioner, even if Plaintiffs had made a case on this

             point. The Commissioner was not a party to the MOUs, and there is no finding in the Award that

             the Commissioner cancelled the MOUs. In other words, the Commissioner did not engage in any

             private act as it related to Plaintiffs, and without such an act, he did not waive his immunity from

             suit.

                                            There Is No Evidence of Proper Service

                      27.      Upon being retained herein, I caused to be conducted a search of proceedings in

             the High Court for Zambia Commercial Registry holden at Lusaka, under Cause Number

             2019/HPC/ARB/No. 0337. The searched reviewed that the Plaintiffs did not seek leave of the

             court to serve court documents out of jurisdiction.

                      28.      According to Rule 36 of the Arbitration (Court Proceedings) Rules, 2001,

             provides:

                               “(1) Service out of the jurisdiction of any originating summons or an order made

                               on such summons, may be effected with the leave of the Court if the arbitration to



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                               which the summons or order relate is governed by the law of Zambia or has been,

                               is being, or is to be held in Zambia.

                               (2) Service out of jurisdiction of an originating summons for leave to register and

                               enforce an award may be effected with the leave of the court whether or not the

                               arbitration is governed by the law of Zambia.

                               (3) An application for the grant of leave under this Rule shall be supported by an

                               affidavit stating the grounds on which the application is made, and stating in what

                               place or country the person to be served is, or probably maybe found; and leave

                               shall not be granted unless the Court considers that the case is a proper one for

                               service out of the jurisdiction under this rule.” (emphasis mine)

                      29.      The failure to obtain leave of the court before service of court documents out of

             jurisdiction renders any subsequent service a nullity.

                      30.      In addition, I did not find any evidence that Plaintiffs attempted to serve either

             ZMDC or the Commissioner.




             Likando Kalaluka, SC




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